 Case 1:18-cr-00111-CMH Document 20-1 Filed 04/15/19 Page 1 of 1 PageID# 85




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA


                                     Alexandria Division


UNITED STATES OF AMERICA
                                                  UNDER SEAL


                                                  No. l:18-cr-lll
JULIAN PAUL ASSANGE,

              Defendant.


                                           ORDER


        This matter comes before the Court on the government's motion to unseal the criminal

complaint and supporting affidavit in this case. The government's motion is GRANTED. The

Clerk's Office shall unseal the following two documents:(1)the criminal complaint and (2)the

affidavit supporting the criminal complaint,filed on December 21,2017. The Clerk's Office shall

also unseal this motion and Order.




                                                   The Honorable Claude M. Hilton
                                                   United States District Judge


Alexandria, Virginia

April      ,2019
